Case 1:05-cr-01849-JCH Document 874-13

RICHARD STARK
Special Agent

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Drug Enforcement Administration
United States Department of Justice

Education
Bachelor of Arts (1994) University of New Mexico
Political Science/U.S. History Albuquerque, N.M.
Experience
Special Agent Albuquerque, N.M. (1/00-present)
Drug Enforcement Administration Tucson, Az. (1/96-1/00)
January 1996 — Present
SWAT TEAM Medic Albuquerque, N.M.
Bernalillo County Sheriff’s Department
1992 — 1996
Medic/DOE Central Training Academy Albuquerque, N.M.
Kirtland AFB
1990 — 1996
Intelligence/Analyst Los Alamos, N.M.
Los Alamos National Laboratory
1992 — 1994
Life Flight Medic Albuquerque, N.M.
University of New Mexico Hospital (1987-1995) Boston, Mass.

Boston Med Flight (1984 — 1987)

Relevant Training

DEA Basic Agent School — 16 weeks

Conspiracy and Complex Investigations School
Instructor, Complex Conspiracy School

Reid Technique of Interviewing and Interrogation
Identifying Lies and Disguise Interviewing Training
DEA Special Operations Till Basic Training Course
DEA Special Operations TIll Advanced Training Course
DEA Special Operations Internet Exploitation Program
Asset Forfeiture Training

TIIl Investigations

Advanced Agent Training

Advanced Air Marshal Training

Quantico, Va.

Quantico, Va.

Quantico, Va.

Albuquerque, N,M,

Tucson, Az.

Washington D.C.
Washington, D.C
Washington, D.C.

Columbia, SC and El Paso, Tx.
El] Paso, Tx. and Tucson, Az.
Quantico, Va.

Artesia, N.M.

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Specialized Experience

Since 1996, | have worked almost exclusively on multi-defendant, multi jurisdictional complex
conspiracy investigations involving narcotics violations of both federal and state laws. | have
conducted or assisted with more than ten Title-lll investigations in Tucson, Arizona and
Albuquerque, New Mexico. Each Title-Ill investigation targeted violations of smuggling and
distribution of controlled substances. During this time period | have also participated in
numerous other narcotics investigations.

As the case agent on Title-Ill intercepts, as well as other multi-jurisdictional narcotics
investigations my duties include, but are not limited to, management of confidential sources
and undercover agents, report writing, acquisition and execution of search, seizure, and
arrest warrants, testimony, coordination with other federal, state, and local law enforcement
agencies, and general case strategy.

During these investigations, coupled with my training and experience, | have observed
methods employed by drug traffickers and tools of the drug trafficking trade. For instance, it
is common for drug traffickers to carry or have access to firearms to protect themselves and
their illicit property, to include large amounts of drugs and cash, from other drug traffickers or
the common criminal element. Furthermore, ,it.is common for drug traffickers to utilize
telecommunication devices (i.e., cellular telephones, residential and commercial telephones,
pagers, email, facsimiles, and other communication devices) to facilitate their drug trafficking
activities. Certain examples of such facilitation include arranging for the delivery of drugs
from sources of supply, arranging for the delivery of monies derived from the sale of drugs to
the sources of supply, arranging for the sale of drugs to lower level members of the
organization, and arranging for the retrieval of monies derived from the sale of drugs to the
lower level members. During these communications, drug traffickers often utilize code words,
usually known only among the members of the specific drug trafficking organization, to
express or direct their drug trafficking activities.
